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Acting United States Trustee for Region 18


                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF OREGON

    In re                                               Case No. 19-34092-tmb11

    Fizz & Bubble, LLC,                                 UNITED STATES TRUSTEE’S
                                                        SECOND MOTION UNDER 11 U.S.C.
    Debtor.                                             § 1112(b) TO DISMISS OR CONVERT




            Gregory M. Garvin, Acting United States Trustee for Region 18 (the “U.S. Trustee”), by

and through his undersigned counsel, moves the Court for an order dismissing or converting this

case. Cause exists for the requested relief under 11 U.S.C. § 1112(b) 1 as stated below.

                                              I.    Background

            Fizz & Bubble, LLC (“Debtor”) filed a Plan of Reorganization (the “Plan,” ECF Doc. No. 360)

and an accompanying Disclosure Statement (the “Disclosure Statement,” ECF Doc. No. 359) on July 7,

2020. Upon objection of multiple parties in interest to the sufficiency of the Disclosure Statement, the

Court continued the Disclosure Statement hearing to allow Debtor more time to file an amended

disclosure statement, plan, and sale motion.


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  Hereafter, all references to “Section” or “§” in the Motion are to provisions of the Bankruptcy Code,
title 11 of the United States Code, 11 U.S.C. §§ 101-1532 as amended, unless otherwise indicated. All
references to “FRBP” are to the Federal Rules of Bankruptcy Procedure.


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       After four extensions of time to file an amended plan and disclosure statement, Debtor filed a

status report indicating that the proposed sale of all debtor’s assets to investors was no longer a

possibility. (ECF Doc. No. 471). Debtor then indicated that it had reached an agreement to sell

substantially all its assets to its primary secured creditor, Decathlon Alpha III, L.P. (“Decathlon”), for a

credit bid plus a $400,000 cash payment. Debtor indicated that such a sale would not fund a plan, but

would “provide a meaningful distribution to administrative claimants.” A motion for that sale was filed

and noticed on November 11 (ECF Doc. No 475), but was withdrawn after Decathlon terminated the

sale agreement. (ECF Doc. No. 500). The U.S. Trustee understands that the Debtor furloughed its

employees upon termination of the sale agreement, and it is unknown whether the Debtor is currently

operating. In addition, Debtor is $4,898.49 behind on its quarterly U.S. Trustee fees and $10,000 in

arrears on post-petition tax obligations.

                                              II.   Argument

       The Court has jurisdiction over this contested matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding as defined by 28 U.S.C. §§ 157(b)(2)(A) and (O). Pursuant to

11 U.S.C. § 307, the U.S. Trustee may raise, appear, and be heard on any issue in any case or proceeding

under Title 11.

       Section 1112(b) provides that the court shall convert a chapter 11 case to one under chapter 7 or

dismiss the case, whichever is in the best interest of creditors, if the movant establishes “cause.” Section

1112(b)(4) provides a non-exhaustive list of examples of “cause” for the dismissal or conversion of a

chapter 11 case. 11 U.S.C. § 1112(b)(4); see In re Consolidated Pioneer Mortg. Entities, 248 B.R. 368,

375 (9th Cir. BAP 2000) (enumerated list of “causes” in § 1112(b) is not exhaustive). Once cause has

been established, the court must determine whether conversion or dismissal is “in the best interests of

creditors and the estate . . . unless the court determines that the appointment under section 1104(a) of a




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trustee or examiner is in the best interests of creditors or the estate.” In this case, cause exists under

several of the grounds enumerated in § 1112(b)(4) and conversion of the case to chapter 7 is in the best

interests of creditors and the estate.

                a. § 1112(b)(4)(A): Substantial or Continuing Loss to the Estate Without
                               any Reasonable Likelihood of Rehabilitation

        Under § 1112(b)(4)(A), “substantial or continuing loss to or diminution of the estate and the

absence of a reasonable likelihood of rehabilitation” constitutes cause for the dismissal or conversion of

a chapter 11 case. Under § 1112(b)(4)(A), the movant must establish both a (i) continuing loss to or

diminution of estate assets, and (ii) an absence of a reasonable likelihood of rehabilitation. In re Wahlie,

417 B.R. 8, 11 (N.D. Ohio 2009).

        The estate has suffered ongoing operating losses for the duration of the case and has been kept

afloat by post-petition financing in hope of a sale of the business. The most recent monthly operating

report indicates that Debtor has accrued $1,530,294 in post-petition liabilities, including post-petition

financing, unpaid lease payments, and unpaid taxes. (ECF Doc. No. 503). Debtor acknowledged in its

October 30 status report that rehabilitation of the business is no longer a possibility and that there are

insufficient assets “to fund a reorganization of any structure.” (ECF Doc. No. 471, p. 3) Debtor has

apparently ceased operating. It is therefore clear that there is no reasonable likelihood of rehabilitation.

                           b. § 1112(b)(4)(I): Failure to Pay Post-Petition Taxes

        Debtor’s failure to timely pay post-petition taxes is an independent basis for cause. 11 U.S.C.

§ 1112(b)(4)(I) (cause includes “[f]ailure to timely pay taxes owed after the date of the order for relief or

to file tax returns due after the date of the order for relief…”). According to the monthly operating

reports filed in this case, Debtor has been behind on post-petition taxes for most of the pendency of this

case. The November monthly operating report indicates that Debtor owes an estimated $10,000 in post-

petition taxes. (ECF Doc. No. 503).



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                                       c. Unpaid U.S. Trustee Fees

       Section 1112(b)(4)(K) provides that cause for dismissal or conversion includes “failure to pay

any fees or charges required under chapter 123 of title 28,” which includes U.S. Trustee fees due under

28 U.S.C. § 1930(a)(6). Debtor owes $9,773.47 in U.S. Trustee fees, including $4,898.49 in past due

fees for the third quarter of 2020. See Dec. of Tammy Combs. Fees for the fourth quarter of 2020, which

have been estimated at $4,875, are currently due and will become delinquent on February 1, 2020.

                    d. Conversion is in the Best Interests of Creditors and the Estate

       The Court should find that conversion of the case is in the best interest of creditors and the estate

in order to allow a trustee to investigate claims that may not be subject to a security interest.

Specifically, there may be claims for preferences or other avoidable insider transfers. If the case is

dismissed, the estate will lose the benefit of avoidance powers under the Code. Any avoidance actions

under state law are unlikely to be investigated or pursued if the case is dismissed and management

remains in control of the Debtor.

                                           III.      Conclusion

       For the reasons stated above, cause exists under § 1112(b) and conversion is the appropriate

remedy.

       DATED this 7th day of January, 2021.

                                                  Respectfully submitted,

                                                  GREGORY M. GARVIN
                                                  Acting United States Trustee for Region 18

                                                  /s/ Christian A. Torimino
                                                  CHRISTIAN A. TORIMINO
                                                  WSBA #52927, Trial Attorney




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 7, 2021, I served a copy of the foregoing UNITED

STATES TRUSTEE’S SECOND MOTION TO DISMISS OR CONVERT on all parties

included on the Court’s CM/ECF electronic service list and on the following parties by first class

mail:



Daniel J. Boverman                                          ODR Bkcy
11285 SW Walker Rd                                          955 Center St NE
Portland, OR 97225                                          Salem, OR 97301-2555

Confluence Capital Group, Inc.                              Oswego Financial Services
One World Trade Center                                      Glenn J. Smith
121 SW Salmon St. #1100                                     4091 Coltsfoot Lane
Portland, OR 97204                                          Lake Oswego, OR 97035

Lloyd R. DuBois                                             Mike Vanier
0932 SW Palatine Hill Rd.                                   7650 Beveland St #170
Portland, OR 97219                                          Portland, OR 97223

Express Employment Professionals                            Bruce Wood
Wayne Marschall                                             510 SW 5th Ave. #300
7401 SW Washo Court, Suite 200                              Portland, OR 97204
Tualatin, OR 97062

Diane M. Humke                                              Daniel M. O'Leary
32272 Apple Valley Road                                     Geffen, Mesher & Company, P.C.
Scappoose, OR 97056                                         888 SW 5th Ave #800
                                                            Portland, OR 97204

Independent Investment Bankers, Corp
2900 N. Quinlan Park Rd. Suite #240-235
Austin, TX 78732

                                             GREGORY M. GARVIN
                                             Acting United States Trustee for Region 18


                                             /s/ Christian A. Torimino
                                             CHRISTIAN A. TORIMINO
                                             WSBA #52927, Trial Attorney


                                    CERTIFICATE OF SERVICE


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                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF OREGON

In re                                              Case No. 19-34092-tmb11

Fizz & Bubble, LLC,                                DECLARATION OF TAMMY L.
                                                   COMBS IN SUPPORT OF THE
                                                   UNITED STATES TRUSTEE’S
Debtor.                                            SECOND MOTION TO CONVERT
                                                   OR DISMISS



        I, Tammy L. Combs, declare under penalty of perjury as follows:

  1. I am more than 18 years of age and am competent to testify to the matters set forth below.

  2. I am a Bankruptcy Analyst in the Office of the United States Trustee (“U.S. Trustee”),

        United States Department of Justice, Region 18, Portland, Oregon.

  3. My duties include requesting, reviewing, and analyzing documents and records relevant

        to the financial affairs of debtors in bankruptcy. I also oversee and review the U.S.

        Trustee quarterly billings in Chapter 11 cases.

  4. I have personal knowledge of the facts set forth herein and, if called as a witness, I would

        testify competently thereto. This declaration is filed in support of the U.S. Trustee’s

        Motion to Convert or Dismiss.

  5. The attached Account Reconciliation Report, (Exhibit A), shows the debtor has

        outstanding U.S. Trustee quarterly fees of $9,773.49. This balance includes billing for

        the 4th quarter of 2020 in the amount of $4,875 and the seriously delinquent 3rd quarter of




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   2020 balance of $4,898.49.

6. The debtor was mailed invoices and/or account statements on October 5, 2020,

   November 6, 2020, December 7, 2020 and most recently January 7, 2021. Additionally,

   the U.S. Trustee has emailed debtor’s counsel regarding the 3rd quarter 2020 outstanding

   balance on November 25, 2020 and again on December 9, 2020. To date, payment has

   not been received to bring this account current.

7. The foregoing statements are true and correct to the best of my knowledge.

   DATED this 7th day of January 2021.



                                         /s/ Tammy L. Combs
                                         TAMMY L. COMBS
                                         Bankruptcy Analyst
                                         Office of the United States Trustee




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1/7/2021                             Chapter 11 Quarterly Fee Information and Collection System (FICS): Account Reconciliation Report


               Chapter 11 Quarterly Fee Information and Collection System (FICS)
               US Trustees, US Department of Justice


                                                              Account Reconciliation
Field Office: 18 05 Portland, OR



     Case #: 793-19-34092                           CPC:         OCS:                            Billed($):           24,403.30
     Debtor: FIZZ & BUBBLE, LLC                     CDC:         CTO:                            Fees($):             24,375.00
     Opened: 11-04-19 Closed:                       CNV:         CBC:
                                                                                                 Interest($):             28.30
                                                                 TIN:
                                                                                                 Payments($):        -14,629.81
                                                                                                 Principal($):       -14,629.81
                                                                                                 Interest($):              0.00
                                                                                                 Balance($):            9,773.49




             Quarterly Fees and Disbursements                                                   Payments
     Quarter          Disbursements ($)        Fee ($)                     Batch/Trans ID     Date      Type Code Payment($)
      4-2019                       360,510      4,875                          01-006        03-10-20    PMTLB       -4,875.00
      1-2020                       627,013      4,875                          01-011        05-19-20    PMTLB       -4,875.00
      2-2020                       531,288      4,875                          02-028        09-15-20    PMTLB       -4,879.81
      3-2020                       515,064      4,875
      4-2020                                    4,875 Est


                                                                Interest
      Transaction Date                          Assessment Period                    Days            Interest Rate       Amount ($)

           01-07-21                          11-01-20 through 12-31-20                  61                2%                16.28


           11-06-20                          08-01-20 through 10-31-20                  92                2%                12.02


           09-15-20                          05-01-20 through 07-31-20                  92                2%                0.00


           03-10-20                          02-01-20 through 02-29-20                  29                2%                0.00




                                                                                                                       UST EXHIBIT A
https://apa01.cld.prd.ust.doj.gov/fics/displayAccountReconciliation.do?caseNumber=7931934092                                            1/1
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